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UNITED STATES DISTRICT COURT bth
MIDDLE DISTRICT OF FLORIDA 221 FEB 17 PR

“iSTRICE COURT
ORLANDO DIVISION cove DSTAIE OF FLORIDA

ARLANDO, FLORIDA
UNITED STATES OF AMERICA

Vv. CASE No. 6:20-cr-165-Orl-CEM-LRH
18 U.S.C. § 1343
AVINASH SINGH 18 U.S.C. § 1957
SUPERSEDING INDICTMENT
The Grand Jury charges:

COUNTS ONE THROUGH TEN
(Wire Fraud)

A. Introduction

At times material to this Superseding Indictment:

1. AVINASH SINGH operated and controlled Highrise Advantage,
LLC (“Highrise”), and he maintained and controlled accounts at financial
institutions, including JPMorgan Chase Bank (Chase) and Wells Fargo Bank
(Wells Fargo), federally financial institutions whose deposits were insured by
the Federal Deposit Insurance Corporation.

2. Bank of America, Citibank, N.A. (Citibank), First Piedmont
Savings & Loan Association, Regions Bank, and USAA Federal Savings Bank
were federally financial institutions whose deposits were insured by the Federal

Deposit Insurance Corporation. Washington State Employees Credit Union
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was a federally financial institution whose deposits were insured by the
National Credit Union Share Insurance Fund.
B. Scheme and Artifice
3. Beginning on an unknown date, but beginning at least as early as
in or about February 2013, and through and including in or about September
2020, in the Middle District of Florida, and elsewhere, the defendant,
AVINASH SINGH,
did knowingly and with intent to defraud devise and intend to devise a scheme
and artifice to defraud, and for obtaining money and property by means of
materially false and fraudulent pretenses, representations, and promises.
C. Manner and Means of the Scheme
4. The manner and means by which the defendant sought to
accomplish the scheme and artifice to defraud included, among others, the
following:
a. It was part of the scheme and artifice to defraud that
defendant AVINASH SINGH would and did unlawfully devise and execute a
scheme and artifice to defraud investors, either directly or through feeder
pools, of money and property by means of materially false and fraudulent

pretenses, representations and promises.
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b. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did obtain money, and attempt
to obtain money, by soliciting individuals to provide funds that defendant
AVINASH SINGH claimed would be pooled with other investors to invest in
retail foreign currency contracts (“forex”) through Highrise.

c. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did obtain money, and attempt
to obtain money, by soliciting feeder pools to provide to Highrise some of the
funds that the feeder pools had received from their own investors, so that
defendant AVINASH SINGH and Highrise could invest those funds in forex.

d. It was a further part of the scheme and artifice to defraud
that the investment in forex with Highrise offered by defendant AVINASH
SINGH was not a legitimate investment, but was a "Ponzi" scheme by which
money from later investors would be paid to earlier investors.

e. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did solicit investors, either
directly or through feeder pools, to invest in forex with Highrise, by means of
false and fraudulent pretenses, representations and promises that related to

material facts, including, but not limited to, the following:
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(1) ‘False claims that defendant AVINASH SINGH had
a proven track record of success as a forex trader;

(2) False claims that defendant AVINASH SINGH
would use the funds provided to him and Highrise to invest in forex;

(3) False claims that funds invested with defendant
AVINASH SINGH and Highrise would start trading on forex on the next
trading day; and,

(4) False claims that defendant AVINASH SINGH and
Highrise would “guarantee” that investors and feeder pools would not lose
any funds for any trading losses.

f. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did prepare, and caused to be
prepared, documents and other materials that contained some of the false
claims described in paragraph e above, including, but not limited to, a “Terms
and Conditions” form that was provided to investors to complete.

g. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did send, and caused to be sent,
to investors and feeder pools by interstate wire, the documents referenced in

paragraph f above.
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h, It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did provide investors and
feeder pools with falsified trading statements that claimed to show that their
funds had been invested in forex and that trading profits had been earned from
forex trades conducted by defendant AVINASH SINGH, and Highrise, when
in truth and in fact, as the defendant then and there well knew, defendant
AVINASH SINGH and Highrise had not invested all of the funds that they
received and the trading profits set out on the trading statements were
fabricated and did not reflect actual trading activity.

i. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did fail to invest all of the funds
in forex as had been promised, but would use significant portions of the funds
received from investors and feeder pools for his personal benefit or to pay
other investors or feeder pools.

j. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did use interstate wires to
communicate with investors and feeder pools by electronic mail and
telephone.

k. It was a further part of the scheme and artifice to defraud

that defendant AVINASH SINGH would and did cause investors, either
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directly or through feeder pools, to send money to invest by use of interstate
wires.

1. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did fail to register Highrise as a
commodity pool operator with the Commodity Futures Trading Commission.

m. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did receive at least $57 million
from over 1,100 investors, either directly or through feeder pools, as a result of
devising and executing the scheme and artifice.

n. It was a further part of the scheme and artifice to defraud
that defendant AVINASH SINGH would and did perform acts and make
statements to hide and conceal, and cause to be hidden and concealed, the
purpose of the scheme to defraud and the acts committed in furtherance
thereof.

D. Interstate Wires
5. On or about the dates set forth below, in the Middle District of
Florida, and elsewhere, the defendant,
AVINASH SINGH,
for the purpose of executing the aforesaid scheme and artifice to defraud and

for obtaining money and property by means of materially false and fraudulent
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pretenses, representations and promises, did knowingly, and with intent to
defraud, transmit and cause to be transmitted by means of wire, radio, and
television communication in interstate commerce, the following writings,

signs, signals, pictures, and sounds:

 

 

 

Count Date Interstate Wire
ONE April 28,2017 | An interstate email from Highrise’s email

account to P.C. transmitting monthly
statement for April 2017, which email was
processed by a server located outside of

 

Florida
TWO August 31, | An interstate wire transfer of $30,000 from
2018 D.W.’s account at USAA Federal Savings

Bank in Alabama to Highrise’s bank
account at Chase in the Middle District of
Florida

THREE June 13,2019 | An interstate wire transfer of $180,000 from
D.B.’s account at Citibank in New Jersey to
Highrise’s bank account at Wells Fargo in
the Middle District of Florida

FOUR July 10,2019 | An interstate wire transfer of $65,000 from
G.E.’s account at Washington State
Employees Credit Union in Washington to
Highrise’s bank account at Wells Fargo in
the Middle District of Florida

FIVE July 30, 2019 An interstate email from Highrise’s email
account to P.C. transmitting monthly
statement July 2019, which email was
processed by a server located outside of
Florida

 

 

 

 

 

 

 

 
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Date

September 11,

2019

Interstate Wire

An interstate wire transfer of $164,000 from
T.G.’s account at First Piedmont Federal
Savings & Loan Association in South
Carolina to Highrise’s bank account at Wells
Fargo in the Middle District of Florida

 

SEVEN

October 9, 2019

An interstate wire transfer of $32,000 from
R.B.’s account at Chase in New York to
Highrise’s bank account at Wells Fargo in the
Middle District of Florida

 

EIGHT

October 31,
2019

An interstate email from Highrise’s email
account in the Middle District of Florida to
C.J. in New Jersey transmitting monthly
statement for October 2019

 

December 31,
2019

An interstate email from Highrise’s email
account in the Middle District of Florida to
S.T. in New York transmitting monthly
statement for December 2019

 

TEN

 

 

December 31,
2019

 

An interstate email from Highrise’s email
account in the Middle District of Florida to
W.C. in Massachusetts transmitting monthly
statement for December 2019

 

All in violation of 18 U.S.C. § 1343.

1.

COUNTS ELEVEN THROUGH SIXTEEN
(Illegal Monetary Transactions)

The Grand Jury hereby realleges paragraphs one, two, and four

of Counts One through Ten of this Superseding Indictment and incorporates

such paragraphs by this reference as though fully set forth herein.

2.

On or about the dates set forth below, in the Middle District of

Florida, and elsewhere, the defendant,

AVINASH SINGH,

 
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did knowingly engage and attempt to engage in the monetary transactions
described below in and affecting interstate commerce, in criminally derived
property of a value greater than $10,000, which property was, in fact, derived
from a specified unlawful activity, that is, wire fraud in violation of 18 U.S.C.
§ 1343, knowing that such transaction involved property and funds that were

the proceeds obtained from a criminal offense, as follows:

 

Count ate Transaction

ELEVEN [March 23,2016 —‘[Transfer in and affecting interstate
commerce of funds in the amount of
$100,416.90 by and through Bank of
America originating in the Middle District
of Florida to an account at Wells Fargo
ffor a settlement agent for payment
towards the purchase of real estate located
at 4925 Cypress Hammock Drive, St.
Cloud, Florida 34771

TWELVE {August 31,2016 (Transfer in and affecting interstate
commerce of funds in the amount of
$12,303.63 by and through Bank of
America originating in the Middle District
of Florida to an account for Tesla Motors
THIRTEEN [March 19,2018 Transfer in and affecting interstate
commerce of funds in the amount of
25,000 by and through Chase originating
in the Middle District of Florida to an
account for coinbase.com

 

 

 

 

 

 

 

 
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Count ate Transaction

OURTEEN| April 25, 2018 Transfer in and affecting interstate
commerce of funds in the amount of
$65,230.52 by and through Chase
originating in the Middle District of
Florida to an account for American

 

Express
FIFTEEN (September 20, Transfer in and affecting interstate
2018 commerce of funds in the amount of

$33,425.37 by and through Chase
originating in the Middle District of
Florida to an account for American
Express

SIXTEEN [September 4, 2020 [Transfer in and affecting interstate
commerce of funds in the amount of
($920,598.65 by and through Wells Fargo
originating in the Middle District of
Florida to an account at Regions Bank for
a settlement agent for the closing of a sale

of real estate located at 9070 Mayfair
Pointe Rd, Orlando, FL 32827

 

 

 

 

 

 

In violation of 18 U.S.C. §§ 1957 and 2.
FORFEITURE

1. The allegations contained in Counts One through Sixteen of this
Superseding Indictment are hereby realleged and incorporated by reference for
the purpose of alleging forfeitures pursuant to 18 U.S.C. §§ 981{a)(1)(C),
982(a)(1), and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 18 U.S.C. § 1343, the
defendant shall forfeit to the United States, pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c), any property, real or personal, which

constitutes or is derived from proceeds traceable to the violation.

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3. Upon conviction of a violation of 18 U.S.C. § 1957, the

defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 982{a)(1),

any property, real or personal, involved in such offense, or any property

traceable to such property.

4. The property to be forfeited includes, but is not limited to, the

following: the real property located at 9070 Mayfair Pointe Drive, Orlando,

FL 32827 and an order of forfeiture for at least the $57 million obtained from

the offenses, which represents the proceeds of the offenses.

5. If any of the property described above, as a result of any act or

omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third
party,

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be

divided without difficulty,

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the United States shall be entitled to forfeiture of substitute property under the

provisions of 2! U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and
28 U.S.C. § 2461(c). The substitute assets to be forfeited specifically include,

but are not limited to, the following: 4925 Cypress Hammock Dr., St. Cloud,

 

Florida 34771.
A TRUE BILL,
Wh.
Foreperson
MARIA CHAPA LOPEZ
United States Attorney

a 1 ABIL

Roger B. Handberg
Assistant United States Attorney
Chief, Orlando Division

    
 

andd L. Riedel
sistant United States Attorney
Deputy Chief, Criminal Division

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APR 1991

No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division

THE UNITED STATES OF AMERICA
vs.

AVINASH SINGH

 

SUPERSEDING INDICTMENT
Violations:

18 U.S.C. § 1343
18 U.S.C. § 1957

 

A true bill, Af 4.

Ab ew
Se.
Foreperson

Filed in open cowrt day of February 2021.

 

Clerk

 

Bail $

 

GPO 863 525
